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Attorneys for Plaintiffs


                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


 TRACY JOHNSON, individually and as an
 Idaho resident, TONI KREITER, individually       Case No. 1:19-cv-364
 and as an Idaho resident, RENE WHITNECK,
 individually and as an Idaho resident, and
 LINDA ELLIS, individually and an Idaho
                                                  COMPLAINT AND DEMAND FOR
 resident,
                                                  JURY TRIAL
                       Plaintiffs,
                                                 1. VIOLATION OF EQUAL PAY ACT
                                                    29 U.S.C. §206(d)(1); AND
 vs.
                                                 2. VIOLATION OF DISCRIMINATORY
 CANYON COUNTY, IDAHO, by and through
                                                    WAGE RATES BASED ON SEX
 the members of its Board of County
                                                    IDAHO CODE § 44-1702
 Commissioners, LESLIE VAN BEEK, TOM
 DALE, PAM WHITE, each sued in their
 official capacity; and KIERAN DONAHUE, in
 his official capacity as Sheriff of Canyon
 County; VITALCORE HEALTH
 STRATEGIES LLC, a Kansas limited liability
 company doing business in Idaho,

                       Defendants.


       COMES NOW Plaintiffs Tracy Johnson, Toni Kreiter, Rene Whitneck, and Linda Ellis, by

and through their counsel of record, Jones & Swartz PLLC, Landmark Legal GroupTM, and by way

of their Complaint against Canyon County, and its Commissioners and Sheriff, and VitalCore


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Health Strategies LLC, pleads and avers as follows:

                                  NATURE OF THE ACTION

       This is an action for relief from employment discrimination in violation of the Equal Pay

Act of 1963 and Idaho’s prohibition against Discriminatory Wages Based on Sex. Plaintiffs

Tracy Johnson, Toni Kreiter, Rene Whitneck, and Linda Ellis (collectively, “Plaintiffs”) are

employees of the County and/or VitalCore Health Strategies LLC. Plaintiffs serve as Licensed

Practical Nurses (“LPN”) at the County’s Jail.

       Plaintiffs, who are all women, are four of a total of five LPNs at the County Jail. The

fifth LPN is a male. The male LPN earns more in wages than all of the Plaintiff women LPNs.

       Plaintiffs allege that Defendants have denied Plaintiffs equal compensation based on sex.

Plaintiffs seek compensatory damages, liquidated damages, and reasonable attorneys’ fees and

costs as remedies for Defendants’ violations of their rights.

                                            PARTIES

       1.      Plaintiff Tracy Johnson is an Idaho citizen residing in the county of Canyon and

has been an employee of Canyon County for approximately fifteen years.

       2.      Plaintiff Toni Kreiter is an Idaho citizen residing in the county of Gem and has

been an employee of Canyon County for approximately three years.

       3.      Plaintiff Rene Whitneck is an Idaho citizen residing in the county of Canyon and

has been an employee of Canyon County for approximately fifteen years.

       4.      Plaintiff Linda Ellis is an Idaho citizen residing in the county of Ada and has been

an employee of Canyon County for approximately twenty years.

       5.      Defendant Canyon County is a county organized under Title 31 of the Idaho

Code. The County is amenable to suit through its Board of County Commissioners, whose



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members Leslie Van Beek, Tom Dale, and Pam White are Defendants herein each of whom is

sued in their official capacity. Pursuant to Idaho Code section 31-816, the County, through its

Commissioners, is charged with fixing the compensation of all county officers and employees,

and providing for the payment of the same.

       6.      At all relevant times hereto, Defendant Kieran Donahue served in his official

capacity as Sheriff of Canyon County and in that capacity is tasked with, inter alia, taking charge

of and keeping the Canyon County Jail.

       7.      Defendant VitalCore Health Strategies LLC (“VitalCore”) is a Kansas limited

liability company that, in about September 2019, was awarded a contract to operate the medical

unit of the Canyon County Jail and by that contract has become Plaintiffs’ employer and/or co-

employer along with Defendants.

                                 VENUE AND JURISDICTION

       8.      This Court has jurisdiction of Plaintiffs’ federal law claims pursuant to 28 U.S.C.

§ 1331, as this case involves questions of federal law.

       9.      This Court has supplemental jurisdiction over the related state law claims

pursuant to 28 U.S.C. § 1367(a) because those claims form part of the same case or controversy

under Article III of the United States Constitution. Plaintiffs’ state law claims share all common

operative facts with their federal law claims, and the parties are identical. Resolving Plaintiffs’

federal and state claims in a single action serves the interests of judicial economy, convenience,

consistency, and fairness to the parties.

       10.     Venue is proper in, and Defendants are subject to the personal jurisdiction of, this

Court because Defendants maintain facilities and business operations in this District, and all or

most of the events giving rise to this action occurred in this District.



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                                  GENERAL ALLEGATIONS

       11.     At all relevant times hereto, Defendants employed five LPNs to work at the

Canyon County Jail.

       12.     At all relevant times hereto, Plaintiffs, who are all female, were four of the five

LPNs employed by Defendants.

       13.     At all relevant times hereto, the fifth LPN employed by Defendants was a male.

       14.     At all relevant times hereto, Plaintiffs were paid less than their male colleague for

equal work, the performance of which required equal skill, effort, and responsibility, and which

was performed under similar working conditions.

       15.     Plaintiffs’ work as LPNs at the County Jail was substantially equal to their male

colleague’s work as an LPN at the County Jail.

       16.     The only discernable difference between Plaintiffs and their male colleague in the

performance of their jobs is that Defendants maintain different male and female uniforms –

requiring Plaintiffs to wear medical scrubs while permitting their male colleague to wear tactical

pants and a polo shirt.

       17.      Plaintiffs’ qualifications as LPNs are equal to, or superior to, their male

colleague’s qualifications as an LPN:

                              Employee     License Type Lic. #
                            Linda Ellis         PN      11047
                            Tracy Johnson       PN      14753
                            Rene Whitneck       PN      12350
                            Toni Kreiter        PN      11504
                            Male Colleague      PN      153XX

       18.     Plaintiffs’ years of employment with Defendants are commensurate with, or

exceed the number of years of Plaintiffs’ male colleague’s employment with Defendants, and


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yet, Plaintiffs’ wage rates are less:

                       Employee     Yrs. Employed Position Wage Rate
                     Linda Ellis          20       LPN     $24.8611
                     Tracy Johnson        15       LPN     $24.0275
                     Rene Whitneck        15       LPN     $23.8510
                     Toni Kreiter          3       LPN     $23.1587
                     Male Colleague        6       LPN      $31.24

        19.     The disparity in pay between the Plaintiffs and their male colleague is not the

result of a seniority system, merit system, a system which measures earnings by quantity or

quality of production, nor any other factor other than sex.

                                             COUNT I:

                               VIOLATION OF EQUAL PAY ACT
                                    29 U.S.C. §206(d)(1)

        20.     Plaintiffs reallege and incorporate by reference all of the foregoing allegations as

if fully set forth herein.

        21.     Section 206(d)(1) of the Equal Pay Act makes it unlawful for an employer “to

discriminate . . . between employees on the basis of sex by paying wages to employees . . . at a

rate less than the rate at which he pays to employees of the opposite sex . . . for equal work on

jobs the performance of which requires equal skill, efforts, and responsibility, and which are

performed under similar working conditions, except where such payment is made pursuant to (i)

a seniority system, (ii) a merit system; (iii) a system which measures earnings by quantity or

quality of production; or (iv) a differential based on any other factor other than sex.”

        22.     Defendants have employed Plaintiffs and their male colleague as LPNs at the

County Jail – a job requiring substantially equal skill, effort, and responsibility.

        23.     Plaintiffs and their male colleague performed their jobs under similar working

conditions.



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        24.        Plaintiffs were paid a lower wage than their male colleague doing substantially

equal work.

        25.        The differential in pay between male and female employees was not due to a bona

fide seniority system, a bona fide merit system, or a bona fide system that measures employee

earnings by quantity or quality of work, nor was the difference in pay a result of a factor other

than sex.

        26.        Defendants caused, contributed to, or caused the continuation of wage rate

discrimination based on sex, in violation of the Equal Pay Act.

        27.        As a direct, legal and proximate result of Defendants’ conduct, willful or

otherwise, Plaintiffs have sustained, and will continue to sustain, economic damages, including

but not limited to back wages and benefits and front wages and benefits, all in amounts to be

proven at trial.

        28.        As a result of Defendants’ actions, Plaintiffs seek compensatory and monetary

relief available for equal pay violations at trial, including liquidated damages, prejudgment

interest, attorneys’ fees and costs, and other compensation pursuant to 29 U.S.C. §216(b).

                                               COUNT II:

                       DISCRIMINATORY WAGE RATES BASED ON SEX
                                 IDAHO CODE § 44-1702

        29.        Plaintiffs reallege and incorporate by reference all of the foregoing allegations as

if fully set forth herein.

        30.        Idaho Code section 44-1702 Act makes it unlawful for an employer to

“discriminate between or among employees in the same establishment on the basis of sex, by

paying wages to any employee in any occupation in this state at a rate less than the rate at which

[it] pays any employee of the opposite sex for comparable work on jobs which have comparable


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requirements relating to skill, effort and responsibility.”

        31.        Defendants have employed Plaintiffs and their male colleague as LPNs at the

County Jail – a job requiring comparable work with comparable requirements relating to skill,

effort and responsibility.

        32.        Plaintiffs were paid a lower wage than their male colleague doing substantially

equal work.

        33.        The differential in pay between male and female employees was not due to an

established seniority system or merit increase system.

        34.        Defendants caused, contributed to, or caused the continuation of wage rate

discrimination based on sex, in violation of the Idaho law.

        35.        As a direct, legal and proximate result of Defendants’ conduct, willful or

otherwise, Plaintiffs have sustained, and will continue to sustain, economic damages, including

but not limited to back wages and benefits and front wages and benefits, all in amounts to be

proven at trial.

        36.        As a result of Defendants’ actions, Plaintiffs seek compensatory and monetary

relief available for equal pay violations at trial, including liquidated damages, prejudgment

interest, attorneys’ fees and costs, and other compensation pursuant to Idaho Code § 44-1704.

                                               COUNT III:

                                        INJUNCTIVE RELIEF

        37.        Plaintiffs reallege and incorporate by reference all of the foregoing allegations as

if fully set forth herein.

        38.        Defendants should be permanently enjoined from engaging in practices that

violate state and federal law prohibiting wage disparity.



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        39.     Defendants should be permanently enjoined from engaging in any retaliatory act

against Plaintiffs in response to Plaintiffs’ complaining of the wage disparity at issue herein.

        40.     Injunctive relief of this nature is required to prevent harm to Plaintiffs which

would otherwise be irreparable under the law.

                              REQUEST FOR ATTORNEY FEES

        Plaintiffs have been forced to retain the services of counsel and incur attorney fees and

costs related to the prosecution of this action. Plaintiffs are entitled to recover their reasonable

costs and attorney fees incurred pursuant to any and all Federal Rule of Civil Procedure 54; 29

U.S.C. § 216, Idaho Code §§12-121 and 44-1702; and other applicable state and federal law.

                                  DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a trial by jury on all issues to be tried.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs request that the Court enter judgment for relief in their favor and

against Defendants as follows:

        1.      For an order awarding Plaintiffs their damages in amounts to be proven at trial,

including, back pay and benefits, liquidated damages, front pay and benefits, pre and post

judgment interest, and other compensation pursuant to 29 U.S.C. §216(b) and Idaho Code § 44-

1702.

        2.      For an order awarding Plaintiffs their reasonable costs of suit, attorney fees, and

post-judgment interest pursuant to Federal Rule of Civil Procedure 54; 29 U.S.C. § 216, Idaho

Code § 44-1702; and other applicable state and federal law; or $5,000 should this matter proceed

by default against any Defendant;

        3.       For an order enjoining Defendants from violating 29 U.S.C. §215(a)(2), (a)(3), or



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206(d), and Idaho Code § 44-1702(1) or (3); and

       4.      For any and all further relief the Court may deem just, equitable, and proper.

       DATED this 23rd day of September, 2019.

                                                     JONES & SWARTZ PLLC



                                                     By   /s/ Eric B. Swartz
                                                             ERIC B. SWARTZ




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